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AO 93 (Rev. 11/13) Search and Seizure Warrant



                                          UNITED STATES DISTRICT COURT
                                                               for the
                                                        District of Colorado
             In the Matter of the Search of
                                                                    )
 3605 Table Mesa Drive M256, Boulder, Colorado                      )     Case No.     19-sw-5777-SKC
 80305, more fully described in Attachment A, attached              )
 hereto,                                                            )
                                                                    )
                                                                    )
                                                                    )

                                                SEARCH AND SEIZURE WARRANT

To: Any authorized law enforcement officer

         An application by a federal law enforcement officer or an attorney for the government requests the search of the
following person or property located in the State and      District of Colorado (identify the person or describe the property to be
searched and give its location):

          SEE "ATTACHMENT A" attached hereto and incorporated by reference

        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or
property described above, and that such search will reveal (identify the person or describe the property to be seized):

          SEE "ATTACHMENT B" attached hereto and incorporated by reference

        I find that the affidavit(s), or any recorded testimony, establishes probable cause to search and seize the person or
property.


          YOU ARE COMMANDED to execute this warrant on or before                 08/15/19                     (not to exceed 14 days)

        in the daytime 6:00 a.m. to 10 p.m.          at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property
taken to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at
the place where the property was taken.

        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
inventory as required by law and promptly return this warrant and inventory to 0DJLVWUDWH-XGJH6.DWR&UHZV .
                                                                                              (United States Magistrate Judge)

      Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C. §
2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     for          days (not to exceed 30).             until, the facts justifying,
                                                                           tifying, the later specific date of           .


Date and time issued: 08/01/2019, 3:07 pm
                                                                                     Judge’s
                                                                                     J d ’ signature
                                                                                             i

City and state:         Denver, CO                                      0DJLVWUDWH-XGJH6.DWR&UHZV
                                                                                     Printed name and title
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                                                                   Return
Case No.:                              Date and time warrant executed:           Copy of warrant and inventory left with:

Inventory made in the presence of :

Inventory of the property taken and name of any person(s) seized:




                                                                 Certification

    I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant
to the designated judge.



Date:
                                                                                     Executing officer’s signature



                                                                                       Printed name and title
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                                             ATTACHMENT A

                          DESCRIPTION OF LOCATION TO BE SEARCHED

       The Subject Premises is located at 3605 Table Mesa Drive M256, Boulder, Colorado 80305. The

Subject Premises is more particularly identified as an apartment unit located in an apartment complex known as

the Boulder Creek Apartments. The Boulder Creek Apartments complex is located north of the intersection of

Table Mesa Drive and Stanford Avenue in Boulder, Colorado. The Subject Premises is located in building M

on the second floor, has a brown door, knocker, and electronic lock. A brown sign identifies the apartment as

unit M256.




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                                     ATTACHMENT B

                         DESCRIPTION OF ITEMS TO BE SEIZED AND SEARCHED

The following items, located within the Subject Premises, described in Attachment A, that constitute evidence of the
commission of, contraband, the fruits of crime, or instrumentalities of violations of Title 18, United States Code,
Section 2252A(a)(5)(B) (hereinafter “Subject Offenses”):

1. Images or visual depictions of child pornography;

2. Records and information containing child erotica, including texts, images and visual depictions of child erotica;

3. Any and all information, notes, software, documents, records, or correspondence, in any format and medium,
   pertaining to violations of the Subject Offenses;

4. Any and all information, notes, documents, records, or correspondence, in any format or medium, concerning
   communications about child pornography or sexual activity with or sexual interest in minors;

5. Any and all information, notes, documents, records, or correspondence, in any format or medium, concerning
   Internet activity reflecting a sexual interest in minors or child pornography;

6. Any and all information, notes, software, documents, records, or correspondence, in any form and medium
   pertaining to any minor who is, or appears to be, the subject of any visual depiction of child pornography, child
   erotica, sexual activity with other minors or adults, or of sexual interest, or that may be helpful in identifying any
   such minors;

7. Any and all address books, names, and lists of names and addresses of individuals who may have been contacted
   by use of the computer or by other means for the purpose of committing the Subject Offenses;

8. Any and all information, notes, documents, records, or correspondence, in any format or medium, concerning
   membership in online groups, clubs, or services that provide or make accessible child pornography;

9. Any and all cameras, film, videotapes or other photographic equipment that constitute evidence of the
   commission of, contraband, the fruits of crime, or instrumentalities of the Subject Offenses;

10. Any and all information, records, documents, invoices and materials, in any format or medium, that concern any
    accounts with an Internet Service Provider pertaining to the Subject Offenses;

11. Any and all information, records, documents, invoices and materials, in any format or medium, that concern e-
    mail accounts, online storage, or other remote computer storage pertaining to the Subject Offenses;

12. Any and all information, documents, records, photos, videos, or correspondence, in any format or medium,
    pertaining to occupancy or ownership of the premises and use or ownership of computer equipment found in the
    premises, or that aid in the identification of persons involved in the Subject Offenses;

13. Credit cards, credit card information, bills and payment records pertaining to violations of the Subject Offenses;

14. Information about usernames or any online accounts or email addresses that include “revengeofnatsat.”

15. Computer(s), digital storage media, or digital storage devices, any physical object upon which computer data can
    be recorded, computer hardware, computer software, servers, computer related documentation, computer
    passwords and data security devices, gaming devices, tablets, flash drives, volatile data, digital communications
    devices, cellular telephones, cameras, videotapes, video recording devices, video recording players, and video
    display monitors, digital input and output devices such as keyboards, mouse(s), scanners, printers, monitors,
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   electronic media and network equipment, modems, routers, connection and power cords, and external or
   connected devices used for accessing computer storage media that was used to commit or facilitate commissions
   of the Subject Offenses; and

16. For any computer, computer hard drive, or other physical object upon which computer data can be recorded
    (hereinafter, COMPUTER) that is called for by this warrant, or that might contain items otherwise called for by
    this warrant:

       a. evidence of who used, owned, or controlled the COMPUTER at the time the items described in this
          warrant were created, edited, or deleted, such as logs, registry entries, configuration files, saved
          usernames and passwords, documents, calendars, browsing history, user profiles, e-mail, e-mail contacts,
          "chat" or instant messaging logs, photographs, and correspondence;

       b. evidence of software that may allow others to control the COMPUTER, such as viruses, Trojan horses,
          and other forms of malicious software, as well as evidence of the presence or absence of security
          software designed to detect malicious software;

       c. evidence of the lack of such malicious software;

       d. evidence of the attachment to the COMPUTER of other storage devices or similar containers for
          electronic evidence;

       e. evidence of counter-forensic programs (and associated data) that are designed to eliminate data from the
          COMPUTER;

       f. evidence of how and when the COMPUTER was used or accessed to determine the chronological context
          of computer access, use, and events relating to crime under investigation and to the computer user;

       g. records of or information about Internet Protocol addresses used by the COMPUTER,;

       h. information about usernames or any online accounts or email addresses that include “revengeofnatsat”;

       i. evidence indicating the computer user’s state of mind as it relates to the crime under investigation,
          namely crimes involving child exploitation and child pornography;

       j. passwords, encryption keys, and other access devices that may be necessary to access the COMPUTER;

       k. documentation and manuals that may be necessary to access the COMPUTER or to conduct a forensic
          examination of the COMPUTER;

       l. contextual information necessary to understand the evidence described in this attachment;

       m. volatile data necessary to preserve evidence prior to powering-off and unplugging a running computer.

       n. images and visual depictions of child pornography;

       o. records and information containing child erotica, including texts, images and visual depictions of child
          erotica;

       p. any and all information, notes, software, documents, records, or correspondence, in any format and
          medium, pertaining to the Subject Offenses;

       q. any and all information, notes, documents, records, or correspondence, in any format or medium,
          concerning communications about child pornography or sexual activity with or sexual interest in minors;
          and
                                                        2
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       r. items otherwise described above in paragraphs 1-14 of this Attachment B.

DEFINITIONS:

17. As used above, the terms "records" and "information" include all of the foregoing items of evidence in whatever
    form and by whatever means they may have been created or stored, including any form of computer or electronic
    storage (such as hard disks or other media that can store data); any handmade form (such as writing, drawing,
    painting); any mechanical form (such as printing or typing); and any photographic form (such as microfilm,
    microfiche, prints, slides, negatives, videotapes, motion pictures, or photocopies).

18. “Child Pornography” is defined in 18 U.S.C. § 2256(8), which includes as any visual depiction of sexually
    explicit conduct involving the use of a minor; a digital image, computer image, or computer-generated image
    that is, or is indistinguishable from that of a minor engaged in sexually explicit conduct; or a visual depiction that
    has been created, adapted, or modified to appear than an identifiable minor is engaging in sexually explicit
    conduct.

19. “Visual depiction” includes prints, copies of visual images, developed and undeveloped film and videotape, and
    data stored on computer disk or by electronic means, which is capable of conversion into a visual image. See 18
    U.S.C. § 2256(5).

20. “Child Erotica” means materials or items that are sexually arousing to persons having a sexual interest in minors
    but that are not, in and of themselves, obscene or that do not necessarily depict minors in sexually explicit poses
    or positions; this also includes texts or discussions regarding minors engaged in sexual acts or conduct.

21. As used above, the terms “computers” or “digital storage media” or “digital storage devices” may be used
    interchangeably, and are intended to include any physical object upon which computer data can be recorded as
    well as all types of electronic, magnetic, optical, electrochemical, or other high speed data processing devices
    capable of performing logical, arithmetic, or storage functions, including desktop and laptop computers, mobile
    phones, tablets, server computers, game consoles, network hardware, hard disk drives, RAM, floppy disks, flash
    memory, CDs, DVDs, and other magnetic or optical storage media.




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